                   Case 2:16-cv-00650-JCC Document 29 Filed 08/08/16 Page 1 of 1


                                   UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
                                              OFFICE OF THE CLERK
                                                       Seattle
                                             700 Stewart St., Suite 2310
                                                 Seattle, WA 98101
                                                  (206) 370-8400

 WILLIAM M. MCCOOL                                                                          LORI LANDIS
District Court Executive                                                                  Chief Deputy Clerk
     Clerk of Court




                                               August 8, 2016


       Clerk of the Court
       King County Superior Court
       516 3rd Avenue, E-609
       Seattle, WA 98104

       RE:      Khalid v Citrix Systems Inc et al, 2:16-cv-0650-JCC
                King County Superior Court, 15-2-24309-8-SEA

       Dear Clerk:

              Enclosed is a certified copy of Judge John C. Coughenour’s Order remanding this
       case to State Court as well as the docket sheet. Please be advised that the US District
       Court no longer provides a copy of the record when remanding.

                Please return the copy of this cover letter with the following information:

                Superior Court Case No:                     15-2-24309-8-SEA
                Assigned to Judge:
                Completed by Deputy Clerk:

                                                           Sincerely,
                                                           Cindy Abad, Deputy Clerk

       Enclosures

       cc:      all counsel
                court file
